              Case 16-50329-btf13                         Doc 32            Filed 10/03/16 Entered 10/03/16 21:44:26                                                 Desc Main
                                                                           Document      Page 1 of 88
 Fill in this information to identify your case:

 Debtor 1                   Kenneth Jason Wilson
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Jennifer Sue Wilson
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF MISSOURI

 Case number           16-50329-can13
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             637,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              47,842.39

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             684,842.39

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             742,851.46

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             230,801.18


                                                                                                                                     Your total liabilities $               973,652.64


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                7,271.08

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,970.70

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Kenneth Jason Wilson
 Debtor 2      Jennifer Sue Wilson                                                        Case number (if known) 16-50329-can13

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Kenneth Jason Wilson
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Jennifer Sue Wilson
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF MISSOURI

 Case number            16-50329-can13                                                                                                                           Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        6037 Carnegie Street                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        St. Joseph                        MO                                           Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                                 $20,000.00                 $20,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Buchanan                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Rental property. NOTE: This property is jointly owned. However only Debtor
                                                                                Kenneth Jason Wilson is obligated on the Promissory Note.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
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       If you own or have more than one, list here:
 1.2                                                                    What is the property? Check all that apply
       413 Kentucky Street                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       St. Joseph                        MO                                    Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                      $22,000.00                    $22,000.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only
       Buchanan                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Rental property. NOTE: This property is jointly owned. However only Debtor
                                                                        Kenneth Jason Wilson is obligated on the Promissory Note.


       If you own or have more than one, list here:
 1.3                                                                    What is the property? Check all that apply
       2829 Patee Street                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       St. Joseph                        MO                                    Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                      $35,000.00                    $35,000.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only
       Buchanan                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Rental property. NOTE: This property is jointly owned. However only Debtor
                                                                        Kenneth Jason Wilson is obligated on the Promissory Note.




Official Form 106A/B                                                       Schedule A/B: Property                                                                             page 2
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 Debtor 2        Jennifer Sue Wilson                                                                                     Case number (if known)          16-50329-can13

       If you own or have more than one, list here:
 1.4                                                                    What is the property? Check all that apply
       6508 S 3rd Street                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       St. Joseph                        MO                                    Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                      $45,000.00                    $45,000.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only
       Buchanan                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Rental property. NOTE: This property is jointly owned. However only Debtor
                                                                        Kenneth Jason Wilson is obligated on the Promissory Note.


       If you own or have more than one, list here:
 1.5                                                                    What is the property? Check all that apply
       814 Court Street                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       St. Joseph                        MO                                    Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                      $20,000.00                    $20,000.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only
       Buchanan                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Rental property. NOTE: This property is jointly owned. However only Debtor
                                                                        Kenneth Jason Wilson is obligated on the Promissory Note.




Official Form 106A/B                                                       Schedule A/B: Property                                                                             page 3
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 Debtor 2        Jennifer Sue Wilson                                                                                     Case number (if known)          16-50329-can13

       If you own or have more than one, list here:
 1.6                                                                    What is the property? Check all that apply
       1817-1819 Beattie Street                                                Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       St. Joseph                        MO                                    Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                      $74,000.00                    $74,000.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only
       Buchanan                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Rental property. NOTE: This property is jointly owned. However only Debtor
                                                                        Kenneth Jason Wilson is obligated on the Promissory Note.


       If you own or have more than one, list here:
 1.7                                                                    What is the property? Check all that apply
       3109 Seneca                                                             Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       St. Joseph                        MO                                    Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                      $15,000.00                    $15,000.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only
       Buchanan                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Rental property. NOTE: This property is jointly owned. However only Debtor
                                                                        Kenneth Jason Wilson is obligated on the Promissory Note.




Official Form 106A/B                                                       Schedule A/B: Property                                                                             page 4
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 Debtor 1        Kenneth Jason Wilson
 Debtor 2        Jennifer Sue Wilson                                                                                     Case number (if known)          16-50329-can13

       If you own or have more than one, list here:
 1.8                                                                    What is the property? Check all that apply
       103 N 6th Street                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       Savannah                          MO                                    Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                    $400,000.00                   $400,000.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only
       Andrew                                                                  Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Rental property (11plex). NOTE: This property is jointly owned. However only
                                                                        Debtor Kenneth Jason Wilson is obligated on the Promissory Note.


       If you own or have more than one, list here:
 1.9                                                                    What is the property? Check all that apply
       1110 N 6th Avenue                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
       St. Joseph                        MO                                    Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                        $6,000.00                     $6,000.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only
       Buchanan                                                                Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Storage lot (small metal building). NOTE: This property is jointly owned.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $637,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                       Schedule A/B: Property                                                                             page 5
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 Debtor 2        Jennifer Sue Wilson                                                                                Case number (if known)       16-50329-can13

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      F-150                                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:                 185000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Wrecked several times and not
         repaired.                                                   Check if this is community property                                $7,000.00                  $7,000.00
                                                                     (see instructions)

         VIN = 1FTPW14V47FB85170


  3.2    Make:       Homemade                                  Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Trailer                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2008                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN = DRXMVB000309636MO
                                                                     Check if this is community property                                  $200.00                    $200.00
                                                                     (see instructions)



  3.3    Make:    Ford                                         Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                  F-150 XL Supercrew                                                                                          the amount of any secured claims on Schedule D:
         Model:   4WD                                                Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:    2013                                               Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:    31,000+                             Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN = 1FTFW1ET8DFE04233
                                                                     Check if this is community property                              $32,000.00                 $32,000.00
                                                                     (see instructions)



  3.4    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1982                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Pickup that has ran since 2009.
                                                                     Check if this is community property                                  $250.00                    $250.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $39,450.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?

Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 6
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 Debtor 1       Kenneth Jason Wilson
 Debtor 2       Jennifer Sue Wilson                                                                 Case number (if known)     16-50329-can13

                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household goods, furnishings, wall hangings, knick knacks, yard tools
                                    etc.                                                                                                         $3,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    2 televisions, DVD player, X-Box game system with games, 2 smart
                                    phones, etc.                                                                                                   $600.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Household books, pictures, family photos.                                                                      $500.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    (2) .38 cal. pistols and (2) .22 cal. rifles                                                                   $400.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Wearing apparel, clothing, shoes.                                                                              $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Wedding rings                                                                                                  $500.00


                                    Misc. "other" jewelry                                                                                          $250.00



Official Form 106A/B                                                  Schedule A/B: Property                                                          page 7
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 Debtor 1         Kenneth Jason Wilson
 Debtor 2         Jennifer Sue Wilson                                                                                         Case number (if known)   16-50329-can13

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $6,250.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash on hand                           $100.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.                                               Checking account at Commerce Bank                                     $441.28



                                              17.2.                                               Savings account at Commerce Bank                                      $101.11


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:
Official Form 106A/B                                                                       Schedule A/B: Property                                                          page 8
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22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                            Surrender or refund
                                                                                                                                             value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No


Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 9
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        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
     No
        Yes. Give specific information..

                                                          Pending Worker's Compensation claim against Enerfab, Inc.                                                                 $0.00


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                $642.39


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

       Yes. Go to line 38.


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
        No
        Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
        No
        Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
        Yes. Describe.....


                                        Computer, printer, laptop, I Pad and misc. office supplies - used in Mrs.
                                        Wilson's real estate sales and rental businesses.                                                                                       $500.00


                                        Misc. hand and power tools used in Mr. Wilson's construction trade.                                                                   $1,000.00


41. Inventory
        No
        Yes. Describe.....


42. Interests in partnerships or joint ventures
        No
Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 10
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 Debtor 1         Kenneth Jason Wilson
 Debtor 2         Jennifer Sue Wilson                                                                                                   Case number (if known)   16-50329-can13

        Yes. Give specific information about them...................
                                   Name of entity:                                                                                       % of ownership:


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                   No
                   Yes. Describe.....


44. Any business-related property you did not already list
        No
        Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................               $1,500.00

 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $637,000.00
 56. Part 2: Total vehicles, line 5                                                                           $39,450.00
 57. Part 3: Total personal and household items, line 15                                                       $6,250.00
 58. Part 4: Total financial assets, line 36                                                                     $642.39
 59. Part 5: Total business-related property, line 45                                                          $1,500.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $47,842.39              Copy personal property total           $47,842.39

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $684,842.39




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 11
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 Fill in this information to identify your case:

 Debtor 1                 Kenneth Jason Wilson
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Jennifer Sue Wilson
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF MISSOURI

 Case number           16-50329-can13
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      6037 Carnegie Street St. Joseph, MO                             $20,000.00                                      100%     Tenancies by the Entirety -
      Buchanan County                                                                                                          RSMo §513.427
      Rental property. NOTE: This property                                                 100% of fair market value, up to
      is jointly owned. However only Debtor                                                any applicable statutory limit
      Kenneth Jason Wilson is obligated on
      the Promissory Note.
      Line from Schedule A/B: 1.1

      413 Kentucky Street St. Joseph, MO                              $22,000.00                                      100%     Tenancies by the Entirety -
      Buchanan County                                                                                                          RSMo §513.427
      Rental property. NOTE: This property                                                 100% of fair market value, up to
      is jointly owned. However only Debtor                                                any applicable statutory limit
      Kenneth Jason Wilson is obligated on
      the Promissory Note.
      Line from Schedule A/B: 1.2

      2829 Patee Street St. Joseph, MO                                $35,000.00                                      100%     Tenancies by the Entirety -
      Buchanan County                                                                                                          RSMo §513.427
      Rental property. NOTE: This property                                                 100% of fair market value, up to
      is jointly owned. However only Debtor                                                any applicable statutory limit
      Kenneth Jason Wilson is obligated on
      the Promissory Note.
      Line from Schedule A/B: 1.3




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 4
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 Debtor 2    Jennifer Sue Wilson                                                                         Case number (if known)     16-50329-can13
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     6508 S 3rd Street St. Joseph, MO                                 $45,000.00                                      100%        Tenancies by the Entirety - 11
     Buchanan County                                                                                                              USC §522(b)(3)(B)
     Rental property. NOTE: This property                                                  100% of fair market value, up to
     is jointly owned. However only Debtor                                                 any applicable statutory limit
     Kenneth Jason Wilson is obligated on
     the Promissory Note.
     Line from Schedule A/B: 1.4

     814 Court Street St. Joseph, MO                                  $20,000.00                                      100%        Tenancies by the Entirety -
     Buchanan County                                                                                                              RSMo §513.427
     Rental property. NOTE: This property                                                  100% of fair market value, up to
     is jointly owned. However only Debtor                                                 any applicable statutory limit
     Kenneth Jason Wilson is obligated on
     the Promissory Note.
     Line from Schedule A/B: 1.5

     1817-1819 Beattie Street St. Joseph,                             $74,000.00                                      100%        Tenancies by the Entirety -
     MO Buchanan County                                                                                                           RSMo §513.427
     Rental property. NOTE: This property                                                  100% of fair market value, up to
     is jointly owned. However only Debtor                                                 any applicable statutory limit
     Kenneth Jason Wilson is obligated on
     the Promissory Note.
     Line from Schedule A/B: 1.6

     3109 Seneca St. Joseph, MO                                       $15,000.00                                      100%        Tenancies by the Entirety -
     Buchanan County                                                                                                              RSMo §513.427
     Rental property. NOTE: This property                                                  100% of fair market value, up to
     is jointly owned. However only Debtor                                                 any applicable statutory limit
     Kenneth Jason Wilson is obligated on
     the Promissory Note.
     Line from Schedule A/B: 1.7

     103 N 6th Street Savannah, MO                                   $400,000.00                                      100%        Tenancies by the Entirety -
     Andrew County                                                                                                                RSMo §513.427
     Rental property (11plex). NOTE: This                                                  100% of fair market value, up to
     property is jointly owned. However only                                               any applicable statutory limit
     Debtor Kenneth Jason Wilson is
     obligated on the Promissory Note.
     Line from Schedule A/B: 1.8

     1110 N 6th Avenue St. Joseph, MO                                  $6,000.00                                      100%        Tenancies by the Entirety -
     Buchanan County                                                                                                              RSMo §513.427
     Storage lot (small metal building).                                                   100% of fair market value, up to
     NOTE: This property is jointly owned.                                                 any applicable statutory limit
     Line from Schedule A/B: 1.9

     2007 Ford F-150 185000 miles                                      $7,000.00                                                  Tenancies by the Entirety - 11
     Wrecked several times and not                                                                                                USC §522(b)(3)(B)
     repaired.                                                                             100% of fair market value, up to
                                                                                           any applicable statutory limit
     VIN = 1FTPW14V47FB85170
     Line from Schedule A/B: 3.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 4
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 Debtor 2    Jennifer Sue Wilson                                                                         Case number (if known)     16-50329-can13
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2007 Ford F-150 185000 miles                                      $7,000.00                                   $898.89        RSMo § 513.430.1(3)
     Wrecked several times and not
     repaired.                                                                             100% of fair market value, up to
                                                                                           any applicable statutory limit
     VIN = 1FTPW14V47FB85170
     Line from Schedule A/B: 3.1

     2007 Ford F-150 185000 miles                                      $7,000.00                                   $758.72        RSMo § 513.440
     Wrecked several times and not
     repaired.                                                                             100% of fair market value, up to
                                                                                           any applicable statutory limit
     VIN = 1FTPW14V47FB85170
     Line from Schedule A/B: 3.1

     2008 Homemade Trailer                                               $200.00                                   $200.00        RSMo § 513.430.1(3)
     VIN = DRXMVB000309636MO
     Line from Schedule A/B: 3.2                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2013 Ford F-150 XL Supercrew 4WD                                 $32,000.00                                 $6,000.00        RSMo § 513.430.1(5)
     31,000+ miles
     VIN = 1FTFW1ET8DFE04233                                                               100% of fair market value, up to
     Line from Schedule A/B: 3.3                                                           any applicable statutory limit

     1982 Ford                                                           $250.00                                   $250.00        RSMo § 513.440
     Pickup that has ran since 2009.
     Line from Schedule A/B: 3.4                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Household goods, furnishings, wall                                $3,500.00                                 $3,500.00        RSMo § 513.430.1(1)
     hangings, knick knacks, yard tools etc.
     Line from Schedule A/B: 6.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2 televisions, DVD player, X-Box game                               $600.00                                   $600.00        RSMo § 513.430.1(1)
     system with games, 2 smart phones,
     etc.                                                                                  100% of fair market value, up to
     Line from Schedule A/B: 7.1                                                           any applicable statutory limit

     Household books, pictures, family                                   $500.00                                   $500.00        RSMo § 513.430.1(1)
     photos.
     Line from Schedule A/B: 8.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     (2) .38 cal. pistols and (2) .22 cal. rifles                        $400.00                                   $400.00        RSMo § 513.440
     Line from Schedule A/B: 10.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wearing apparel, clothing, shoes.                                   $500.00                                   $500.00        RSMo § 513.430.1(1)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wedding rings                                                       $500.00                                   $500.00        RSMo § 513.430.1(2)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 4
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 Debtor 1    Kenneth Jason Wilson
 Debtor 2    Jennifer Sue Wilson                                                                         Case number (if known)     16-50329-can13
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Misc. "other" jewelry                                               $250.00                                   $250.00        RSMo § 513.430.1(2)
     Line from Schedule A/B: 12.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash on hand                                                        $100.00                                   $100.00        RSMo § 513.440
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking account at Commerce Bank                                   $441.28                                   $441.28        RSMo § 513.440
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings account at Commerce Bank                                    $101.11                                   $101.11        RSMo § 513.430.1(3)
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Pending Worker's Compensation claim                                    $0.00                                     100%        RSMo § 287.260
     against Enerfab, Inc.
     Line from Schedule A/B: 35.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Computer, printer, laptop, I Pad and                                $500.00                                   $500.00        RSMo § 513.430.1(4)
     misc. office supplies - used in Mrs.
     Wilson's real estate sales and rental                                                 100% of fair market value, up to
     businesses.                                                                           any applicable statutory limit
     Line from Schedule A/B: 40.1

     Misc. hand and power tools used in Mr.                            $1,000.00                                 $1,000.00        RSMo § 513.430.1(4)
     Wilson's construction trade.
     Line from Schedule A/B: 40.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                   Kenneth Jason Wilson
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Jennifer Sue Wilson
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF MISSOURI

 Case number           16-50329-can13
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Andrew County Collector                  Describe the property that secures the claim:                 $14,000.00              $400,000.00            $8,000.00
         Creditor's Name                          103 N 6th Street Savannah, MO
                                                  Andrew County
                                                  Rental property (11plex). NOTE: This
                                                  property is jointly owned. However
                                                  only Debtor Kenneth Jason Wilson is
                                                  obligated on the Promissory Note.
                                                  As of the date you file, the claim is: Check all that
         PO Box 47                                apply.
         Savannah, MO 64485                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Real estate taxes
       community debt

 Date debt was incurred          2010 - 2013               Last 4 digits of account number


         Bank of America Home
 2.2                                              Describe the property that secures the claim:                 $54,000.00               $20,000.00           $34,000.00
         Loans
         Creditor's Name                          814 Court Street St. Joseph, MO
                                                  Buchanan County
                                                  Rental property. NOTE: This property
                                                  is jointly owned. However only Debtor
                                                  Kenneth Jason Wilson is obligated on
                                                  the Promissory Note.
                                                  As of the date you file, the claim is: Check all that
         400 Countrywide Way                      apply.
         Simi Valley, CA 93065                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 10
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            Case 16-50329-btf13                          Doc 32          Filed 10/03/16 Entered 10/03/16 21:44:26                              Desc Main
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 Debtor 1 Kenneth Jason Wilson                                                                                Case number (if know)   16-50329-can13
               First Name                  Middle Name                      Last Name
 Debtor 2 Jennifer Sue Wilson
               First Name                  Middle Name                      Last Name



    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred          May 9, 2006                 Last 4 digits of account number         9872

         Buchanan County Collector
 2.3                                                Describe the property that secures the claim:                     $4,000.00          $6,000.00               $0.00
         of Revenue
         Creditor's Name                            1110 N 6th Avenue St. Joseph, MO
         Buchanan County                            Buchanan County
         Courthouse                                 Storage lot (small metal building).
         411 Jules, Suite 123                       NOTE: This property is jointly owned.
                                                    As of the date you file, the claim is: Check all that
         Saint Joseph, MO                           apply.
         64501-1788                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Real Estate Taxes
       community debt

 Date debt was incurred          2007 - 2014                 Last 4 digits of account number


         Buchanan County,
 2.4                                                                                                                    $575.00         $20,000.00               $0.00
         Missouri                                   Describe the property that secures the claim:
         Creditor's Name                            6037 Carnegie Street St. Joseph, MO
                                                    Buchanan County
                                                    Rental property. NOTE: This property
                                                    is jointly owned. However only Debtor
         Collector of Revenue                       Kenneth Jason Wilson is obligated on
         411 Jules, Suite 123                       the Promissory Note.
                                                    As of the date you file, the claim is: Check all that
         Saint Joseph, MO                           apply.
         64501-1788                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Real Estate Taxes
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         Buchanan County,
 2.5                                                                                                                    $400.00         $15,000.00           $400.00
         Missouri                                   Describe the property that secures the claim:




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 10
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
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 Debtor 1 Kenneth Jason Wilson                                                                                Case number (if know)   16-50329-can13
               First Name                  Middle Name                      Last Name
 Debtor 2 Jennifer Sue Wilson
               First Name                  Middle Name                      Last Name


         Creditor's Name                            3109 Seneca St. Joseph, MO
                                                    Buchanan County
                                                    Rental property. NOTE: This property
                                                    is jointly owned. However only Debtor
         Collector of Revenue                       Kenneth Jason Wilson is obligated on
         411 Jules, Suite 123                       the Promissory Note.
                                                    As of the date you file, the claim is: Check all that
         Saint Joseph, MO                           apply.
         64501-1788                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Real Estate Taxes
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         Buchanan County,
 2.6                                                                                                                    $500.00         $22,000.00               $0.00
         Missouri                                   Describe the property that secures the claim:
         Creditor's Name                            413 Kentucky Street St. Joseph, MO
                                                    Buchanan County
                                                    Rental property. NOTE: This property
                                                    is jointly owned. However only Debtor
         Collector of Revenue                       Kenneth Jason Wilson is obligated on
         411 Jules, Suite 123                       the Promissory Note.
                                                    As of the date you file, the claim is: Check all that
         Saint Joseph, MO                           apply.
         64501-1788                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Real Estate Taxes
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.7     Ford Motor Credit Co                       Describe the property that secures the claim:                   $26,000.00          $32,000.00               $0.00
         Creditor's Name                            2013 Ford F-150 XL Supercrew 4WD
                                                    31,000+ miles
                                                    VIN = 1FTFW1ET8DFE04233
                                                    As of the date you file, the claim is: Check all that
         PO Box 105704                              apply.
         Atlanta, GA 30348                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 10
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 Debtor 1 Kenneth Jason Wilson                                                                                Case number (if know)   16-50329-can13
               First Name                  Middle Name                      Last Name
 Debtor 2 Jennifer Sue Wilson
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   PMSI
       community debt

 Date debt was incurred          5/23/14                     Last 4 digits of account number         0096

         M & I Marshall & Ilsey
 2.8                                                                                                               $394,000.00         $400,000.00               $0.00
         Bank                                       Describe the property that secures the claim:
         Creditor's Name                            103 N 6th Street Savannah, MO
                                                    Andrew County
                                                    Rental property (11plex). NOTE: This
                                                    property is jointly owned. However
                                                    only Debtor Kenneth Jason Wilson is
         1201 Northwest Briarcliff                  obligated on the Promissory Note.
                                                    As of the date you file, the claim is: Check all that
         Parkway                                    apply.
         Kansas City, MO 64116                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Lien
       community debt

 Date debt was incurred          March 2006                  Last 4 digits of account number


 2.9     Nationstar Mortgage, LLC                   Describe the property that secures the claim:                   $85,771.36          $74,000.00       $11,771.36
         Creditor's Name                            1817-1819 Beattie Street St. Joseph,
                                                    MO Buchanan County
                                                    Rental property. NOTE: This property
                                                    is jointly owned. However only Debtor
                                                    Kenneth Jason Wilson is obligated on
         Bankruptcy Notifications                   the Promissory Note.
                                                    As of the date you file, the claim is: Check all that
         350 Highland Drive                         apply.
         Lewisville, TX 75067                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage
       community debt

                                 June 14,
 Date debt was incurred          2004                        Last 4 digits of account number         2175


 2.1     Ocwen FKA GMAC
 0       Rescap                                     Describe the property that secures the claim:                   $57,641.99          $45,000.00       $12,641.99




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 10
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 Debtor 1 Kenneth Jason Wilson                                                                                Case number (if know)   16-50329-can13
               First Name                  Middle Name                      Last Name
 Debtor 2 Jennifer Sue Wilson
               First Name                  Middle Name                      Last Name


         Creditor's Name                            6508 S 3rd Street St. Joseph, MO
                                                    Buchanan County
                                                    Rental property. NOTE: This property
                                                    is jointly owned. However only Debtor
                                                    Kenneth Jason Wilson is obligated on
                                                    the Promissory Note.
                                                    As of the date you file, the claim is: Check all that
         1525 Belt Line Road                        apply.
         Coppell, TX 75019-4913                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred          April 3, 2006               Last 4 digits of account number         1640

 2.1
 1       Ocwen Loan Servicing LLC                   Describe the property that secures the claim:                   $51,607.22          $15,000.00       $36,607.22
         Creditor's Name                            3109 Seneca St. Joseph, MO
                                                    Buchanan County
                                                    Rental property. NOTE: This property
                                                    is jointly owned. However only Debtor
         1100 Virginia Drive, Suite                 Kenneth Jason Wilson is obligated on
         175                                        the Promissory Note.
                                                    As of the date you file, the claim is: Check all that
         Fort Washington, PA                        apply.
         19034                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage
       community debt

                                 April 30,
 Date debt was incurred          2003                        Last 4 digits of account number         0690


 2.1     Residential Credit
 2       Solutions, Inc.                            Describe the property that secures the claim:                   $54,355.89          $35,000.00               $0.00
         Creditor's Name                            2829 Patee Street St. Joseph, MO
                                                    Buchanan County
                                                    Rental property. NOTE: This property
                                                    is jointly owned. However only Debtor
                                                    Kenneth Jason Wilson is obligated on
         c/o Millsap & Singer LLC                   the Promissory Note.
                                                    As of the date you file, the claim is: Check all that
         612 Spirit Drive                           apply.
         Saint Louise, MO 63005                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 10
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 Debtor 1 Kenneth Jason Wilson                                                                             Case number (if know)         16-50329-can13
              First Name                Middle Name                      Last Name
 Debtor 2 Jennifer Sue Wilson
              First Name                Middle Name                      Last Name



    Debtor 1 only                                     An agreement you made (such as mortgage or secured
    Debtor 2 only                                      car loan)

    Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another           Judgment lien from a lawsuit
    Check if this claim relates to a                  Other (including a right to offset)   First Mortgage
    community debt

 Date debt was incurred                                   Last 4 digits of account number         1335


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $742,851.46
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $742,851.46

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.2
        Bank of America Home Loans
        4500 Amon Carter Blvd                                                                      Last 4 digits of account number
        Fort Worth, TX 76155

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.2
        Bank of America Home Loans
        7105 Corporate Drive                                                                       Last 4 digits of account number
        Plano, TX 75024-4100

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.2
        Bank of America, N.A. as successor by
        merger to BAC Home Loans Servicing, LP                                                     Last 4 digits of account number
        Mail Stop CA6-919-01-23
        400 National Way
        Simi Valley, CA 93065

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.2
        Cynthia M Woolverton, Esq.
        Millsap & Singer LLC                                                                       Last 4 digits of account number
        612 Spirit Drive
        Saint Louise, MO 63005

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.12
        First Franklin Loan Services
        PO Box 1838                                                                                Last 4 digits of account number
        Pittsburgh, PA 15230

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.12
        First Franklin Loan Services
        150 Allegheny Center Mall                                                                  Last 4 digits of account number
        Pittsburgh, PA 15212

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.12
        First Franklin Loan Services
        PO Box 660598                                                                              Last 4 digits of account number
        Dallas, TX 75266-0598

Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                   page 6 of 10
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 Debtor 1 Kenneth Jason Wilson                                                             Case number (if know)          16-50329-can13
              First Name                Middle Name                     Last Name
 Debtor 2 Jennifer Sue Wilson
              First Name                Middle Name                     Last Name




        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.7
        Ford Credit
        Customer Service Center                                                     Last 4 digits of account number
        PO Box 542000
        Omaha, NE 68154-8000

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.7
        Ford Motor Credit
        National Bankruptcy Service Center                                          Last 4 digits of account number
        PO Box 6275
        Dearborn, MI 48121

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.7
        Ford Motor Credit Company LLC
        PO Box 62180                                                                Last 4 digits of account number
        Colorado Springs, CO 80962

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.10
        HomeComings Financial
        PO Box 205                                                                  Last 4 digits of account number
        Waterloo, IA 50704-0205

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.10
        HomeComings Financial
        PO Box 79162                                                                Last 4 digits of account number
        Phoenix, AZ 85062

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.10
        HomeComings Financial
        6716 Grade Lane                                                             Last 4 digits of account number
        Bldg., 9, Suite 910
        Louisville, KY 40213-1407

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.10
        HomeComings Financial
        PO Box 79135                                                                Last 4 digits of account number
        Phoenix, AZ 85062-9135

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.8
        M & I Marshal & Ilsey Bank
        770 N Water Street                                                          Last 4 digits of account number
        ATTN Retail Collections BRK-190-RC
        Milwaukee, WI 53202

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.8
        M & I Marshall & Isley Bank
        c/o South & Associates, PC                                                  Last 4 digits of account number
        6363 College Blvd, Suite 100
        Overland Park, KS 66211

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.2
        Nationstar Mortgage, LLC
        350 Highland Drive                                                          Last 4 digits of account number
        Lewisville, TX 75067

Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 7 of 10
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 Debtor 1 Kenneth Jason Wilson                                                             Case number (if know)          16-50329-can13
              First Name                Middle Name                     Last Name
 Debtor 2 Jennifer Sue Wilson
              First Name                Middle Name                     Last Name



        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.10
        Nationwide Credit, Inc
        1874 Catasauque Road                                                        Last 4 digits of account number
        Box 214
        Allentown, PA 18109

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.10
        Nationwide Credit, Inc.
        PO Box 26314                                                                Last 4 digits of account number
        Lehigh Valley, PA 18002-6314

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.10
        Ocwen Loan Servicing, LLC
        Bankruptcy Department                                                       Last 4 digits of account number
        PO Box 24781
        West Palm Beach, FL 33416-4781

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.11
        Ocwen Loan Servicing, LLC
        PO Box 24738                                                                Last 4 digits of account number
        West Palm Beach, FL 33416-4738

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.11
        Ocwen Loan Servicing, LLC
        1661 Worthington Road                                                       Last 4 digits of account number
        Suite 100
        West Palm Beach, FL 33409

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.11
        Ocwen Loan Servicing, LLC
        Bankruptcy Department                                                       Last 4 digits of account number
        PO Box 24781
        West Palm Beach, FL 33416-4781

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.11
        Ocwen Loan Servicing, LLC
        3451 Hammond Avenue                                                         Last 4 digits of account number
        Waterloo, IA 50702

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.2
        Select Portfolio Servicing, Inc
        ATTN: Bankruptcy Department                                                 Last 4 digits of account number
        PO Box 65250
        Salt Lake City, UT 84165

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.12
        Seterus, Inc
        PO Box 2008                                                                 Last 4 digits of account number
        Grand Rapids, MI 49501-2008




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 Debtor 1 Kenneth Jason Wilson                                                             Case number (if know)          16-50329-can13
              First Name                Middle Name                     Last Name
 Debtor 2 Jennifer Sue Wilson
              First Name                Middle Name                     Last Name



        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.12
        Seterus, Inc
        Attn: Bankruptcy Department                                                 Last 4 digits of account number
        PO Box 2206
        Grand Rapids, MI 49501-2206

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.12
        Seterus, Inc
        Attn: Bankruptcy Department                                                 Last 4 digits of account number
        PO Box 1047
        Hartford, CT 06143-1047

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.12
        Seterus, Inc
        PO Box 1077                                                                 Last 4 digits of account number
        Hartford, CT 06143-1077

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.11
        Seterus, Inc
        Attn: Bankruptcy Department                                                 Last 4 digits of account number
        PO Box 1047
        Hartford, CT 06143-1047

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.11
        Seterus, Inc
        PO Box 1077                                                                 Last 4 digits of account number
        Hartford, CT 06143-1077

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.11
        Seterus, Inc
        Attn: Bankruptcy Department                                                 Last 4 digits of account number
        PO Box 2206
        Grand Rapids, MI 49501-2206

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.9
        Shapiro & Kreisman, LLC
        13801 Riverport Drive                                                       Last 4 digits of account number
        Suite 502
        Maryland Heights, MO 63043

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.10
        South & Associates PC
        6363 College Boulevard                                                      Last 4 digits of account number
        Suite 100
        Leawood, KS 66211

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.11
        South & Associates PC
        6363 College Boulevard                                                      Last 4 digits of account number
        Suite 100
        Leawood, KS 66211




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 Debtor 1 Kenneth Jason Wilson                                                             Case number (if know)          16-50329-can13
              First Name                Middle Name                     Last Name
 Debtor 2 Jennifer Sue Wilson
              First Name                Middle Name                     Last Name



        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.9
        US Bank NA
        Attn Bankruptcy Department                                                  Last 4 digits of account number
        PO Box 5229
        Cincinnati, OH 45201-5229

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.9
        US Bank NA
        4801 Frederica Street                                                       Last 4 digits of account number
        Owensboro, KY 42301




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 Fill in this information to identify your case:

 Debtor 1                   Kenneth Jason Wilson
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Jennifer Sue Wilson
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF MISSOURI

 Case number            16-50329-can13
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          Ace Cash Express                                        Last 4 digits of account number         9779                                                        $1,363.12
              Nonpriority Creditor's Name
              1231 Greenway Drive                                     When was the debt incurred?
              Suite 700
              Irving, TX 75038
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify




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          American Home Mortgage Servicing
 4.2      Inc                                                        Last 4 digits of account number       3362                                                  Unknown
          Nonpriority Creditor's Name
          4600 Regent Blvd., Suite 200                               When was the debt incurred?           July 2000
          Irving, TX 75063-1730
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible deficiency from the foreclosure
                                                                                         against rental property at 608 E. Colorado
              Yes                                                       Other. Specify   Avenue, St. Joseph, Missouri.


          American Home Mortgage Servicing
 4.3      Inc                                                        Last 4 digits of account number                                                             Unknown
          Nonpriority Creditor's Name
          4875 Belfort Road, Suite 130                               When was the debt incurred?
          Jacksonville, FL 32256
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible deficiency from the foreclosure
                                                                                         against rental property at 504 Blake Street, St.
              Yes                                                       Other. Specify   Joseph, Missouri.


 4.4      Bank of America Home Loans                                 Last 4 digits of account number       1228                                                  Unknown
          Nonpriority Creditor's Name
          400 Countrywide Way                                        When was the debt incurred?           July 25, 2005
          Simi Valley, CA 93065
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible deficiency from the foreclosure
                                                                                         against former residence at 4317 Hidden
              Yes                                                       Other. Specify   Valley Drive St. Joseph, MO


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 4.5      Bank One Delaware NA                                       Last 4 digits of account number       4165                                               $17,973.20
          Nonpriority Creditor's Name
          Law Department                                             When was the debt incurred?
          201 North Walnut Street
          Wilmington, DE 19801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.6      Barton Mutual Insurance Co.                                Last 4 digits of account number       4304                                                     $92.60
          Nonpriority Creditor's Name
          120 S. Main St.                                            When was the debt incurred?
          PO Box 99
          Liberal, MO 64762-0099
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.7      Barton Mutual Insurance Co.                                Last 4 digits of account number       9542                                                   $238.63
          Nonpriority Creditor's Name
          120 S. Main St.                                            When was the debt incurred?
          PO Box 99
          Liberal, MO 64762-0099
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.8      Capital One Bank                                           Last 4 digits of account number                                                            $1,942.97
          Nonpriority Creditor's Name
          PO Box 30281                                               When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.9      Chase                                                      Last 4 digits of account number       6454                                                 $6,461.32
          Nonpriority Creditor's Name
          PO Box 94014                                               When was the debt incurred?
          Palatine, IL 60094-4014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 0        Chase Bank USA, N.A.                                       Last 4 digits of account number                                                            $8,931.14
          Nonpriority Creditor's Name
          1804 Washington Blvd.                                      When was the debt incurred?
          2nd Floor, Dept 450
          Baltimore, MD 21230
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.1
 1        Citibank (South Dakota), NA                                Last 4 digits of account number                                                          $12,272.84
          Nonpriority Creditor's Name
          Bankruptcy Department                                      When was the debt incurred?
          7920 Northwest 110th Street
          Kansas City, MO 64101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 2        Citizen's Bank & Trust                                     Last 4 digits of account number                                                             Unknown
          Nonpriority Creditor's Name
          PO Box 50                                                  When was the debt incurred?
          Chillicothe, MO 64601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible deficiency from the foreclosure
                                                                                         against a vacant lot commoly known as 4007
                                                                                         Bennington Circle, (Lot 44 Carriage Oaks) St.
              Yes                                                       Other. Specify   Joseph, Missouri.


 4.1
 3        City of S. Joseph Utility Billing                          Last 4 digits of account number       3000                                                 $1,170.17
          Nonpriority Creditor's Name
          PO Box 411458                                              When was the debt incurred?
          Kansas City, MO 64141
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.1
 4        City of Savannah, Missouri                                 Last 4 digits of account number                                                                  $0.00
          Nonpriority Creditor's Name
          402 Court                                                  When was the debt incurred?
          Savannah, MO 64485
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 5        City of St. Joseph, Missouri                               Last 4 digits of account number                                                                  $0.00
          Nonpriority Creditor's Name
          1100 Frederick Avenue                                      When was the debt incurred?
          Room 106
          Saint Joseph, MO 64501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 6        City of St. Joseph, Missouri                               Last 4 digits of account number                                                                  $0.00
          Nonpriority Creditor's Name
          Department of Finance                                      When was the debt incurred?
          PO Box 1350
          St. Joseph, MO 64502
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.1
 7        Commerce Bank                                              Last 4 digits of account number       9096                                                   $180.00
          Nonpriority Creditor's Name
          PO Box 411036                                              When was the debt incurred?
          Kansas City, MO 64141-1036
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 8        Dell Financial Services                                    Last 4 digits of account number       4790                                                 $4,043.68
          Nonpriority Creditor's Name
          PO Box 6403                                                When was the debt incurred?
          Carol Stream, IL 60197-6403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 9        Discover Card                                              Last 4 digits of account number                                                          $10,170.04
          Nonpriority Creditor's Name
          PO Box 30943                                               When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.2
 0        GE Money Bank/Dillards                                     Last 4 digits of account number       2973                                                 $2,293.93
          Nonpriority Creditor's Name
          PO Box 960012                                              When was the debt incurred?
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 1        Goetz Credit Union                                         Last 4 digits of account number                                                             Unknown
          Nonpriority Creditor's Name
          1905 Howard Street                                         When was the debt incurred?           May 2007
          Saint Joseph, MO 64501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible deficiency from the repossession of a
              Yes                                                       Other. Specify   2005 Ford Excursion


 4.2
 2        Heartland Health                                           Last 4 digits of account number       3638                                                 $1,177.94
          Nonpriority Creditor's Name
          PO Box 1159                                                When was the debt incurred?
          Saint Joseph, MO 64502
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.2
 3        HFC                                                        Last 4 digits of account number       7246                                                 $9,979.51
          Nonpriority Creditor's Name
          0215 D NE Englewood Rd                                     When was the debt incurred?
          Kansas City, MO 64118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 4        Hidden Valley Homes Assciation                             Last 4 digits of account number       HO2                                                        $0.00
          Nonpriority Creditor's Name
          PO Box 6242                                                When was the debt incurred?
          Saint Joseph, MO 64506
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 5        Hidden Valley Homes Assciation                             Last 4 digits of account number       161                                                        $0.00
          Nonpriority Creditor's Name
          PO Box 6242                                                When was the debt incurred?
          Saint Joseph, MO 64506
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 2 Jennifer Sue Wilson                                                                             Case number (if know)         16-50329-can13

 4.2
 6        Hidden Valley Homes Assciation                             Last 4 digits of account number       192                                                        $0.00
          Nonpriority Creditor's Name
          PO Box 6242                                                When was the debt incurred?
          Saint Joseph, MO 64506
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 7        Hidden Valley Homes Association                            Last 4 digits of account number       94                                                   $2,495.46
          Nonpriority Creditor's Name
          PO Box 8938                                                When was the debt incurred?           Various
          Saint Joseph, MO 64508-8938
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Home Onwers Association dues - former
                                                                                         residence at 4317 Hidden Valley Drive St.
              Yes                                                       Other. Specify   Joseph, MO


 4.2
 8        Home Depot                                                 Last 4 digits of account number       1624                                                 $7,078.27
          Nonpriority Creditor's Name
          PO Box 790328                                              When was the debt incurred?
          Saint Louis, MO 63179-0328
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 2 Jennifer Sue Wilson                                                                             Case number (if know)         16-50329-can13

 4.2
 9        Homeq Servicing Corporation                                Last 4 digits of account number       3551                                                  Unknown
          Nonpriority Creditor's Name
          Bankruptcy Department                                      When was the debt incurred?           December 13, 2007
          1100 Corporate Center
          Raleigh, NC 27607
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible deficiency from the foreclosure
                                                                                         against former residence at 3809 Churchill
              Yes                                                       Other. Specify   Court, St. Joseph, Missouri.


 4.3
 0        KCP&L                                                      Last 4 digits of account number       3143                                                 $1,033.84
          Nonpriority Creditor's Name
          PO Box 219703                                              When was the debt incurred?
          Kansas City, MO 64121-9703
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 1        KCP&L                                                      Last 4 digits of account number       7493                                                       $0.00
          Nonpriority Creditor's Name
          Customer Care Center                                       When was the debt incurred?
          PO Box 418679
          Kansas City, MO 64141-9679
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 2 Jennifer Sue Wilson                                                                             Case number (if know)         16-50329-can13

 4.3
 2        Laboratory Corporation of America                          Last 4 digits of account number       6469                                                   $298.00
          Nonpriority Creditor's Name
          PO Box 2240                                                When was the debt incurred?
          Burlington, NC 27216-2240
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 3        MBNA America Bank NA                                       Last 4 digits of account number       9712                                               $17,939.75
          Nonpriority Creditor's Name
          Bankruptcy Department                                      When was the debt incurred?
          400 Christiana Road
          Newark, DE 19713
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 4        Mercantile Bank                                            Last 4 digits of account number                                                             Unknown
          Nonpriority Creditor's Name
          200 N 33rd Street                                          When was the debt incurred?
          PO Box 3455
          Quincy, IL 62305
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible deficiency from the foreclosure
                                                                                         against 30 acres of vacant land commonly
                                                                                         known as 2613 County Line Road, St. Joseph,
              Yes                                                       Other. Specify   Missouri.



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 4.3
 5        Meritas Health                                             Last 4 digits of account number       6912                                                     $67.36
          Nonpriority Creditor's Name
          PO Box 505245                                              When was the debt incurred?
          Saint Louis, MO 63150-5245
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 6        Meritas Health                                             Last 4 digits of account number       6912                                                   $112.00
          Nonpriority Creditor's Name
          PO Box 505245                                              When was the debt incurred?
          Saint Louis, MO 63150-5245
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 7        Midland Funding LLC                                        Last 4 digits of account number                                                            $4,455.11
          Nonpriority Creditor's Name
          Midland Credit Management Inc                              When was the debt incurred?
          16 Mcleland Road, Suite 101
          Saint Cloud, MN 56303
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.3
 8        Midland Funding LLC                                        Last 4 digits of account number                                                            $7,097.54
          Nonpriority Creditor's Name
          Midland Credit Management Inc                              When was the debt incurred?
          16 Mcleland Road, Suite 101
          Saint Cloud, MN 56303
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 9        Missouri American Water                                    Last 4 digits of account number       8993                                                   $151.71
          Nonpriority Creditor's Name
          Attention: Bankruptcy Department                           When was the debt incurred?
          1410 Discovery Parkway
          Alton, IL 62002
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 0        Missouri Gas Energy                                        Last 4 digits of account number       2029                                                   $108.79
          Nonpriority Creditor's Name
          PO Box 219255                                              When was the debt incurred?
          Kansas City, MO 64121-9255
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 2 Jennifer Sue Wilson                                                                             Case number (if know)         16-50329-can13

 4.4
 1        Northwest Financial Services                               Last 4 digits of account number       0364                                                 $6,409.38
          Nonpriority Creditor's Name
          PO Box 9010                                                When was the debt incurred?
          Saint Joseph, MO 64508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 2        NPG Newspapers Inc                                         Last 4 digits of account number       24NP                                                   $659.38
          Nonpriority Creditor's Name
          PO Box 29                                                  When was the debt incurred?
          Saint Joseph, MO 64502
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 3        Ocwen FKA GMAC Rescap                                      Last 4 digits of account number       1764                                               $57,641.99
          Nonpriority Creditor's Name
          1525 Belt Line Road                                        When was the debt incurred?
          Coppell, TX 75019-4913
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible deficiency from the foreclosure
                                                                                         against former rental property at 2119 North
              Yes                                                       Other. Specify   3rd Street, St. Joseph, Missouri.




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 4.4
 4        Paypal Buyer Credit                                        Last 4 digits of account number       0120                                                   $469.73
          Nonpriority Creditor's Name
          PO Box 960080                                              When was the debt incurred?
          Orlando, FL 32896-0080
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 5        PRA Receivables Management LLC                             Last 4 digits of account number                                                          $15,799.48
          Nonpriority Creditor's Name
          Agent of Portfolio Recovery Assoc                          When was the debt incurred?
          LLC
          PO Box 12914
          Norfolk, VA 23541
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         This creditor/collection agency is attempting to
              Yes                                                       Other. Specify   collect for an unknown creditor.


 4.4
 6        Quantum3 Group LLC as agent for                            Last 4 digits of account number                                                          $16,465.92
          Nonpriority Creditor's Name
          Galaxy Asset Purchasing LLC                                When was the debt incurred?
          PO Box 788
          Kirkland, WA 98083-0788
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Beneficial account




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 4.4
 7        Research Medical Center                                    Last 4 digits of account number       3728                                                 $1,369.27
          Nonpriority Creditor's Name
          PO Box 740760                                              When was the debt incurred?
          Cincinnati, OH 45274-0760
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 8        Residential Credit Solutions, Inc.                         Last 4 digits of account number       5451                                                  Unknown
          Nonpriority Creditor's Name
          c/o Millsap & Singer LLC                                   When was the debt incurred?           July 12, 2002
          612 Spirit Drive
          Saint Louise, MO 63005
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible deficiency from the foreclosure
                                                                                         against rental property at 3513 Sacramento
              Yes                                                       Other. Specify   Street, St. Joseph, Missouri.


 4.4
 9        Saint Luke's Hospital of Kansas City                       Last 4 digits of account number       0715                                                     $27.55
          Nonpriority Creditor's Name
          4401 Wornall Road                                          When was the debt incurred?
          Kansas City, MO 64111
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 2 Jennifer Sue Wilson                                                                             Case number (if know)         16-50329-can13

 4.5
 0        Saint Luke's Hospital of Kansas City                       Last 4 digits of account number       2090                                                   $955.16
          Nonpriority Creditor's Name
          4401 Wornall Road                                          When was the debt incurred?
          Kansas City, MO 64111
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 1        Saint Luke's Hospital of Kansas City                       Last 4 digits of account number       1087                                                   $358.10
          Nonpriority Creditor's Name
          4401 Wornall Road                                          When was the debt incurred?
          Kansas City, MO 64111
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 2        Saint Luke's Hospital of Kansas City                       Last 4 digits of account number       1656                                                     $85.00
          Nonpriority Creditor's Name
          4401 Wornall Road                                          When was the debt incurred?
          Kansas City, MO 64111
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 2 Jennifer Sue Wilson                                                                             Case number (if know)         16-50329-can13

 4.5
 3        Saint Luke's Regional Laboratories                         Last 4 digits of account number       9119                                                     $56.25
          Nonpriority Creditor's Name
          PO Box 219137                                              When was the debt incurred?
          Kansas City, MO 64121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 4        Speedy Cash                                                Last 4 digits of account number       5382                                                 $1,483.44
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?
          3611 North Ridge Road
          Wichita, KS 67205
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 5        Synchrony Bank/Lowe's                                      Last 4 digits of account number       8682                                                 $1,899.08
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                When was the debt incurred?
          PO Box 965060
          Orlando, FL 32896-5060
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.5
 6        Synchrony Bank/Walmart                                     Last 4 digits of account number       9708                                                   $678.53
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                When was the debt incurred?
          PO Box 965060
          Orlando, FL 32896-5060
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 7        Ted S. Pankiewicz                                          Last 4 digits of account number                                                            $7,211.00
          Nonpriority Creditor's Name
          4401 N 29th Terrace                                        When was the debt incurred?
          Saint Joseph, MO 64506
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 8        United Guaranty Residential                                Last 4 digits of account number       0001                                                  Unknown
          Nonpriority Creditor's Name
          Insurance Company                                          When was the debt incurred?
          230 N Elm Street
          Greensboro, NC 27420
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.5
 9        Wachovia Mortgage                                          Last 4 digits of account number       1963                                                  Unknown
          Nonpriority Creditor's Name
          PO Box 659558                                              When was the debt incurred?           August 13, 2007
          San Antonio, TX 78265
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Prior lien against rental property at 6037
                                                                                         Carnegie Street, St. Joseph, Missouri.
              Yes                                                       Other. Specify   However the lien was voluntarily released


 4.6
 0        Wells Fargo Home Mortgage Inc                              Last 4 digits of account number       2631                                                  Unknown
          Nonpriority Creditor's Name
          Attn Bankruptcy Department                                 When was the debt incurred?
          1 Home Campus
          Des Moines, IA 50328
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Previously held a security interest in 413
                                                                                         Kentucky Street St. Joseph, Missouri.
                                                                                         However, this creditor voluntarily released its
              Yes                                                       Other. Specify   lien.




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 4.6
 1         Windsor Capital Fund L.P.                                 Last 4 digits of account number       1546                                                      Unknown
           Nonpriority Creditor's Name
           c/o Shapiro & Kreisman, LLC                               When was the debt incurred?           March 23, 2006
           13801 Riverport Drive
           Suite 502
           Maryland Heights, MO 63043
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Possible deficiency from the foreclosure
                                                                                         against rental pro property commonly known
                                                                                         as 405 Hamburg Avenue, St. Jospeh,
              Yes                                                       Other. Specify   Missouri.


 4.6
 2         Women's Health Laboratories                               Last 4 digits of account number       0274                                                       $103.00
           Nonpriority Creditor's Name
           PO Box 1000 Dept 461                                      When was the debt incurred?
           Memphis, TN 38148-0001
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ace Cash Express, Inc                                         Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1231 Greenway Drive, Suite 670                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Irving, TX 75038
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ad Astra Recovery Services                                    Line 4.54 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7330 W 33rd Street N                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 118
 Wichita, KS 67205
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ad Astra Recovery Services, Inc                               Line 4.54 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 8918 W 21 Street N, Suite 200, PMB                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

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 112
 Wichita, KS 67205-1880
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Allied Interstate                                             Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7525 W Campus Road                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 New Albany, OH 43054-1121
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Allied Interstate                                             Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1962                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Southgate, MI 48195-0962
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Home Mortgage Servicing                              Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Inc                                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 4875 Belfort Road, Suite 130
 Jacksonville, FL 32256
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Home Mortgage Servicing,                             Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Inc.                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 3050
 Columbia, MD 21045-6050
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America Home Loans                                    Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 7105 Corporate Drive                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Plano, TX 75024-4100
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America Home Loans                                    Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 4500 Amon Carter Blvd                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Fort Worth, TX 76155
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America, N.A. as successor by                         Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 merger to BAC Home Loans Servicing,                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 LP
 Mail Stop CA6-919-01-23
 400 National Way
 Simi Valley, CA 93065
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Berlin-Wheeler Inc                                            Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 711 W McCarty Street                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Jefferson City, MO 65101
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Berlin-Wheeler Inc                                            Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 463                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Jefferson City, MO 65102-0463
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CACV of Colorado LLC                                          Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 370 17th Street                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 5000
 Denver, CO 80202
                                                               Last 4 digits of account number

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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CBCS                                                          Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 164059                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43216-4059
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase                                                         Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 15298                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5298
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Bank USA NA                                             Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Department                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 100018
 Kennesaw, GA 30156
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Bank USA, N.A.                                          Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Charles L. Litow, Esq.                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 698
 Festus, MO 63028
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Bank USA, N.A.                                          Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 200 White Clay Center Drive                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Newark, DE 19711
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi                                                          Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 653095                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Dallas, TX 75265
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citicorp Credit Services                                      Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 2695                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Waterloo, IA 50704-2695
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 City of St. Joseph, Missouri                                  Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Utility Billing                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 1100 Frederick Avenue
 Saint Joseph, MO 64501
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Commerce Bank                                                 Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: KCREC10                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 419248
 Kansas City, MO 64141
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Commerce Bank, N.A.                                           Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Department                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 911 Main Street
 Kansas City, MO 64105
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cynthia M Woolverton, Esq.                                    Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Millsap & Singer LLC

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 612 Spirit Drive                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louise, MO 63005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Dell Financial Services                                       Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 81577                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Austin, TX 78708-1577
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Bank                                                 Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15251                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19886-5251
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Card                                                 Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15192                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5192
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Card                                                 Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15316                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5316
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Encore Receivable Management                                  Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 400 N. Rogers Road                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 3330
 Olathe, KS 66063-3330
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Encore Receivable Management                                  Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 47248                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Oak Park, MI 48237
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Enhanced Recovery Corporation                                 Line 4.56 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 57610                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32241
                                                               Last 4 digits of account number                  7861

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First Franklin Loan Services                                  Line 4.48 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 660598                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Dallas, TX 75266-0598
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First Franklin Loan Services                                  Line 4.48 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 150 Allegheny Center Mall                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Pittsburgh, PA 15212
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First Franklin Loan Services                                  Line 4.48 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1838                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Pittsburgh, PA 15230
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FMS Inc.                                                      Line 4.55 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 707600                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Tulsa, OK 74170-7600

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                                                               Last 4 digits of account number                  8490

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gamache & Myers P.C.                                          Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1111 Woods Mill Road                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Ste 180
 Chesterfield, MO 63017
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GE Capital Retail Bank                                        Line 4.55 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Recovery Management Systems                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Corp
 25 SE 2nd Avenue, Suite 1120
 Miami, FL 33131-1605
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GE Money Bank                                                 Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy Dept                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 103104
 Roswell, GA 30076
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GE Money Bank                                                 Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy Dept                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 103104
 Roswell, GA 30076
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GEMB/Dillard's                                                Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 981400                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GEMB/Dillard's                                                Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 981471                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HFC                                                           Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 4153-K                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Carol Stream, IL 60197-4153
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Hidden Valley Homes Association                               Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 6242                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Joseph, MO 64506
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Home Depot                                                    Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 6497                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117-6497
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Home Depot Credit Services                                    Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 8725 W. Sahara Blvd.                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Las Vegas, NV 89117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HomeComings Financial                                         Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

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 Debtor 2 Jennifer Sue Wilson                                                                             Case number (if know)          16-50329-can13

 PO Box 205                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Waterloo, IA 50704-0205
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HomeComings Financial                                         Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 79135                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Phoenix, AZ 85065-9135
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HomeComings Financial                                         Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2711 North Haskell Avenue                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 900
 Dallas, TX 75204
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HomeComings Financial                                         Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6716 Grade Lane                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Bldg. 9, Suite 910
 Louisville, KY 40213-1407
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HomeComings Financial                                         Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 79135                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Phoenix, AZ 85062-9135
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HomeComings Financial                                         Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 205                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Waterloo, IA 50704-0205
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HomeComings Financial                                         Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6716 Grade Lane                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Bldg. 9, Suite 910
 Louisville, KY 40213-1407
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HomeComings Financial                                         Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 79162                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Phoenix, AZ 85062
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HomEq Servicing Corporation                                   Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 13716                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Sacramento, CA 95853-3716
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HomEq Servicing Corporation                                   Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 701 Corporate Center Dr. NC4741                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Raleigh, NC 27607
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HomEq Servicing Corporation                                   Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 13909                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Durham, NC 27709-3909
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HomEq Servicing Corporation                                   Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

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 4837 Watt Avenue, Suite 200                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 North Highlands, CA 95660
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 HomEq Servicing Corporation                                   Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 79230                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 City Of Industry, CA 91716-9230
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IC System Inc                                                 Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 64378                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Paul, MN 55164-0378
                                                               Last 4 digits of account number                  8199

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 K&K Assets LLC                                                Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Kristin A. Bourgeois, Esq.                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 600 Washington Avenue
 15th Floor
 Saint Louis, MO 63101-1313
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 K&K Assets, LLC by iServe                                     Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o South & Associates, P.C.                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 6363 College Blvd., Suite 100
 Leawood, KS 66211
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 KCP&L                                                         Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Customer Care Center                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 418679
 Kansas City, MO 64141-9679
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 KCP&L                                                         Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 11975                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64138-0975
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Keith Joseph Schieber                                         Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1009-D West St. Maartens Dr.                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Joseph, MO 64506
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Law Office of Curtis O Barnes                                 Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1390                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Anaheim, CA 92815-1390
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mann Bracken, LLC                                             Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 229 Peachtree Street NE                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 700
 Atlanta, GA 30303
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Martin, Leigh, Laws & Fritzlen PC                             Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 900 Pecks Plaza                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 1044 Main Street
 Kansas City, MO 64105-2135
                                                               Last 4 digits of account number

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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mercantile Bank                                               Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Nicholas K. Robb, Esq.                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 MORTON, REED, COUNTS &
 BRIGGS, LLC
 400 Jules, Suite 320
 Saint Joseph, MO 64501
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mercantile Bank                                               Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 742557                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45274
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Funding LLC                                           Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Midland Credit Management Inc                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 8875 Aero Drive, Suite 200
 San Diego, CA 92123
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Funding LLC                                           Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Irwin James Frankel, Esq.                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 9300 Dielman Industrial Drive
 Suite 100
 Saint Louis, MO 63132
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Funding LLC                                           Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Midland Credit Management Inc                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 8875 Aero Drive, Suite 200
 San Diego, CA 92123
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Funding, LLC                                          Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Donald A. Horowitz, Esq.                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 1000 Camera Avenue, Suite A
 Saint Louis, MO 63126
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Millsap & Singer, P.C.                                        Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 612 Spirit Drive                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louis, MO 63005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Missouri American Water                                       Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 94551                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Palatine, IL 60094-4551
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Missouri American Water                                       Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 578                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Alton, IL 62002
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Missouri Gas Energy                                           Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Utility Recovery Service                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 3420 Broadway
 Kansas City, MO 64111
                                                               Last 4 digits of account number

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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nationstar Mortgage LLC                                       Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 630267                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Irving, TX 75063
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nationstar Mortgage LLC                                       Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy Department                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 619096
 Dallas, TX 75261-9741
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nationwide Credit                                             Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 26314                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Lehigh Valley, PA 18002
                                                               Last 4 digits of account number                  7044

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NCB Management Services, Inc.                                 Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1099                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Langhorne, PA 19047
                                                               Last 4 digits of account number                  2182

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Northwest Financial Services                                  Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 9010                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Joseph, MO 64508
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NPG Newspapers Inc                                            Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 825 Edmond                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Joseph, MO 64501
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ocwen FKA GMAC Rescap                                         Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1525 Belt Line Road                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Coppell, TX 75019-4913
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Paypal Buyer Credit                                           Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 981401                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998-1401
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Paypal Buyer Credit                                           Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 960097                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-0097
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Paypal Buyer Credit                                           Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 981400                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998-1400
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PRA Receivables Management LLC                                Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Agent of Portfolio Recovery Assoc LLC                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 12914
 Norfolk, VA 23541
                                                               Last 4 digits of account number


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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PRA Receivables Management LLC                                Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Agent of Portfolio Recovery Assoc LLC                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 12914
 Norfolk, VA 23541
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Research Medical Center                                       Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 99400                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Louisville, KY 40269
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Saint Luke's Health System                                    Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 803998                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64180-3998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Saint Luke's Health System                                    Line 4.50 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 803998                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64180-3998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Saint Luke's Health System                                    Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 803998                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64180-3998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Saint Luke's Health System                                    Line 4.52 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 803998                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64180-3998
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 South & Associates PC                                         Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6363 College Boulevard                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 100
 Leawood, KS 66211
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 South & Associates PC                                         Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6363 College Boulevard                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 100
 Leawood, KS 66211
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Speedy Cash                                                   Line 4.54 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 780408                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Wichita, KS 67278-0408
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 St Luke's Northland Hospital                                  Line 4.50 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5830 NW Barry Road                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64154
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Lowe's                                                  Line 4.55 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965004                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5004
                                                               Last 4 digits of account number



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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Walmart                                                 Line 4.56 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965024                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5024
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 SYNCB/Walmart                                                 Line 4.56 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965036                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank                                                Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Recovery Management Systems                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Corporat
 25 SE 2nd Avenue, Suite 1120
 Miami, FL 33131-1605
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony/Walmart                                             Line 4.56 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Recovery Management Systems Corp                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 25 SE 2nd Avenue, Suite 1120
 Miami, FL 33131
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The CBE Group                                                 Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 131 Tower Park, Suite 100                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2547
 Waterloo, IA 50704-2547
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 United Guaranty Residential                                   Line 4.58 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Insurance Company                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 20327
 Greensboro, NC 27420-0327
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 United Guaranty Residential                                   Line 4.58 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Insurance Company                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 60955
 Charlotte, NC 28254-3412
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Bank National Association                                  Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Trustee for RASC 2006KS5                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Code 507345110
 3451 Hammond Ave
 Waterloo, IA 50702
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 VANDA LLC                                                     Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o Weinstein & Riley PS                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 3978
 Seattle, WA 98124
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wachovia Mortgage                                             Line 4.59 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 60505                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 City Of Industry, CA 91716-0505
                                                               Last 4 digits of account number


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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wachovia Mortgage                                             Line 4.59 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2525 Corporate Place, Suite 250                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Monterey Park, CA 91754
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wachovia Mortgage                                             Line 4.60 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 60505                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 City Of Industry, CA 91716-0505
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wachovia Mortgage                                             Line 4.60 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2525 Corporate Place, Suite 250                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Monterey Park, CA 91754
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wachovia Mortgage                                             Line 4.60 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 659558                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 San Antonio, TX 78265-9558
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Bank, NA                                          Line 4.60 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn Bankruptcy Department                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 MAC #T7416-023
 4101 Wiseman Blvd
 San Antonio, TX 78251
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Home Mortgage                                     Line 4.60 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Correspondence/Bankruptcy                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Department
 PO Box 10335
 Des Moines, IA 50306-0335
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Windsor Capital Fund LP                                       Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Hajjar Sutherland Peters &                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Washmon
 1205 Rio Grande Street
 Austin, TX 78701-1709
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that             6g.       $                           0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 33 of 34
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 Debtor 1 Kenneth Jason Wilson
 Debtor 2 Jennifer Sue Wilson                                                                        Case number (if know)   16-50329-can13

                              you did not report as priority claims
                        6h.   Debts to pension or profit-sharing plans, and other similar debts       6h.      $                   0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                            $             230,801.18

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.      $             230,801.18




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 34 of 34
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                                                                      Document     Page 62 of 88
 Fill in this information to identify your case:

 Debtor 1                  Kenneth Jason Wilson
                           First Name                         Middle Name              Last Name

 Debtor 2                  Jennifer Sue Wilson
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               WESTERN DISTRICT OF MISSOURI

 Case number           16-50329-can13
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Kenneth Jason Wilson
                            First Name                            Middle Name         Last Name

 Debtor 2                   Jennifer Sue Wilson
 (Spouse if, filing)        First Name                            Middle Name         Last Name


 United States Bankruptcy Court for the:                 WESTERN DISTRICT OF MISSOURI

 Case number           16-50329-can13
 (if known)                                                                                                                     Check if this is an
                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




    3.2                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Kenneth Jason Wilson

Debtor 2                      Jennifer Sue Wilson
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF MISSOURI

Case number               16-50329-can13                                                                 Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                 Not employed
       employers.
                                             Occupation            Construction                                 Real Estate Sales
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Brand Energy Services LLC                    Self

       Occupation may include student        Employer's address
                                                                   1325 Cobb International
       or homemaker, if it applies.
                                                                   Kennesaw, GA 30152

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         5,456.67        $            0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      5,456.67               $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Kenneth Jason Wilson
Debtor 2    Jennifer Sue Wilson                                                                   Case number (if known)    16-50329-can13


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      5,456.67       $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,076.92       $                0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $                0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $                0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $                0.00
      5e.    Insurance                                                                     5e.        $          0.00       $                0.00
      5f.    Domestic support obligations                                                  5f.        $          0.00       $                0.00
      5g.    Union dues                                                                    5g.        $        463.67       $                0.00
      5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,540.59       $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,916.08       $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $        3,355.00
      8b. Interest and dividends                                                           8b.        $              0.00   $            0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
      8e. Social Security                                                                  8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $           3,355.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              3,916.08 + $       3,355.00 = $           7,271.08
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $          7,271.08
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 Kenneth Jason Wilson                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                 Jennifer Sue Wilson                                                                   A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF MISSOURI                                               MM / DD / YYYY

Case number           16-50329-can13
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Son                                  6 years             Yes
                                                                                                                                            No
                                                                                   Son                                  7 years             Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,262.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           200.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Kenneth Jason Wilson
Debtor 2     Jennifer Sue Wilson                                                                       Case number (if known)      16-50329-can13

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               425.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                               125.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                 0.00
      6d. Other. Specify: Cable/telephone/internet                                                           6d.   $                               191.00
             Cell phones                                                                                           $                               198.00
7.    Food and housekeeping supplies                                                           7.                  $                               885.00
8.    Childcare and children’s education costs                                                 8.                  $                               475.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                               225.00
10.   Personal care products and services                                                    10.                   $                                70.00
11.   Medical and dental expenses                                                            11.                   $                               225.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 600.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  75.00
14.   Charitable contributions and religious donations                                       14. $                                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                  146.00
      15c. Vehicle insurance                                                               15c. $                                                  103.70
      15d. Other insurance. Specify: Home Warranty                                         15d. $                                                   40.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal property taxes & licenses                                            16. $                                                  75.00
      Specify: Taxes notwithheld from self employment income                                      $                                                350.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Misc. expenses                                                      21. +$                                                200.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     5,970.70
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     5,970.70
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               7,271.08
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,970.70

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,300.38

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: NOTE: Mr. Wilson (when working) drives to Kansas City each day for work.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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                                                               United States Bankruptcy Court
                                                                      Western District of Missouri
            Kenneth Jason Wilson
 In re      Jennifer Sue Wilson                                                                                   Case No.      14-50424-can13
                                                                                  Debtor(s)                       Chapter       13


                                                   BUSINESS INCOME AND EXPENSES

                                      REAL ESTATE SALES - JENNIFER SUE WILSON
         FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS                               (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
          1. Gross Income For 12 Months Prior to Filing:                                                      $                   0.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
          2. Gross Monthly Income                                                                                                     $                5,080.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
          3. Net Employee Payroll (Other Than Debtor)                                                         $                   0.00
          4. Payroll Taxes                                                                                                        0.00
          5. Unemployment Taxes                                                                                                   0.00
          6. Worker's Compensation                                                                                                0.00
          7. Other Taxes                                                                                                          0.00
          8. Inventory Purchases (Including raw materials)                                                                        0.00
          9. Purchase of Feed/Fertilizer/Seed/Spray                                                                               0.00
          10. Rent (Other than debtor's principal residence)                                                                      0.00
          11. Utilities                                                                                                           0.00
          12. Office Expenses and Supplies                                                                                      25.00
          13. Repairs and Maintenance                                                                                             0.00
          14. Vehicle Expenses                                                                                                 300.00
          15. Travel and Entertainment                                                                                         200.00
          16. Equipment Rental and Leases                                                                                         0.00
          17. Legal/Accounting/Other Professional Fees                                                                            0.00
          18. Insurance                                                                                                        100.00
          19. Employee Benefits (e.g., pension, medical, etc.)                                                                    0.00
          20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                  DESCRIPTION                                                                      TOTAL

          21. Other (Specify):

                  DESCRIPTION                                                                      TOTAL
                  Dues                                                                             300.00
                  Advertising                                                                      300.00
                  Miscellaneous buyers incentives                                                  500.00

          22. Total Monthly Expenses (Add items 3-21)                                                                                 $                1,725.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
          23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                               $                3,355.00




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 Fill in this information to identify your case:

 Debtor 1                  Kenneth Jason Wilson
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Jennifer Sue Wilson
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF MISSOURI

 Case number           16-50329-can13
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                            Dates Debtor 2
                                                                 lived there                                                                   lived there
        Current                                                  From-To:                       Same as Debtor 1                                  Same as Debtor 1
                                                                 Since 4/15                                                                    From-To:



        4317 Hidden Valley Drive                                 From-To:                       Same as Debtor 1                                  Same as Debtor 1
        St. Joseph, MO                                           7/05 - 3/15                                                                   From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
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 Debtor 1      Kenneth Jason Wilson
 Debtor 2      Jennifer Sue Wilson                                                                         Case number (if known)   16-50329-can13

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income          Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.      (before deductions
                                                                                    exclusions)                                               and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $20,815.47            Wages, commissions,            $35,182.37
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For last calendar year:                              Wages, commissions,                          Unknown            Wages, commissions,              Unknown
 (January 1 to December 31, 2015 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year before that:                   Wages, commissions,                       $72,709.00            Wages, commissions,            $62,403.00
 (January 1 to December 31, 2014 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income          Gross income
                                                   Describe below.                  each source                    Describe below.            (before deductions
                                                                                    (before deductions and                                    and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Rents                                                     $19,900.00
 the date you filed for bankruptcy:

 For last calendar year:                           Rents                                           Unknown
 (January 1 to December 31, 2015 )

 For the calendar year before that:                Rents                                        $44,420.00
 (January 1 to December 31, 2014 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.




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 Debtor 2      Jennifer Sue Wilson                                                                         Case number (if known)    16-50329-can13


            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                         Value of the
                                                                                                                                                              property
                                                                 Explain what happened
       Bank of America                                           Possible deficiency from the foreclosure                     3/16                        $120,000.00
                                                                 against former residence at 4317 Hidden
                                                                 Valley Drive St. Joseph, MO

                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.




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11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was               Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                   Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                        Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                                                                                                  loss                             lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment               Amount of
       Address                                                        transferred                                             or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       The Law Offices of Tracy L. Robinson, LC                                                                               See Rule                         $0.00
       818 Grand Boulevard                                                                                                    2016(b)
       Suite 505                                                                                                              Statement
       Kansas City, MO 64106




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       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Access Counseling, Inc                                         Pre-filing counseling certificate                       8/18/16                         $14.85
       633 W 5th Street
       Suite 26001
       Los Angeles, CA 90071


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or          Date transfer was
       Address                                                        property transferred                      payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                           Date Transfer was
                                                                                                                                                  made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of           Type of account or          Date account was               Last balance
       Address (Number, Street, City, State and ZIP              account number             instrument                  closed, sold,              before closing or
       Code)                                                                                                            moved, or                           transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?           Describe the contents                    Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                                have it?
                                                                      State and ZIP Code)




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22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                          have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)
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                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




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 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Kenneth Jason Wilson                                                /s/ Jennifer Sue Wilson
 Kenneth Jason Wilson                                                    Jennifer Sue Wilson
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date     October 3, 2016                                                Date     October 3, 2016

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              Kenneth Jason Wilson                                                                    According to the calculations required by this
                                                                                                               Statement:
 Debtor 2              Jennifer Sue Wilson                                                                           1. Disposable income is not determined under
 (Spouse, if filing)                                                                                                    11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:            Western District of Missouri                                     2. Disposable income is determined under 11
                                                                                                                        U.S.C. § 1325(b)(3).
 Case number           16-50329-can13
 (if known)
                                                                                                                     3. The commitment period is 3 years.

                                                                                                                     4. The commitment period is 5 years.

                                                                                                                    Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A               Column B
                                                                                                         Debtor 1               Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                            2,735.91       $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                              $            0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                             0.00      $               0.00
  5. Net income from operating a
     business, profession, or farm                 Debtor 1                     Debtor 2
        Gross receipts (before all
        deductions)                            $                     0.00   $         5,079.90
        Ordinary and necessary
        operating expenses                    -$                     0.00 -$               0.00
        Net monthly income from a                                                                 Copy
        business, profession, or farm          $                     0.00   $         5,079.90 here -> $              0.00      $         5,079.90
  6. Net income from rental and
     other real property                           Debtor 1                     Debtor 2
        Gross receipts (before all
        deductions)                            $                     0.00   $         2,843.33
        Ordinary and necessary
        operating expenses                    -$                     0.00 -$               0.00
        Net monthly income from                                                                   Copy
        rental or other real property          $                     0.00   $         2,843.33 here -> $              0.00      $         2,843.33




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 1
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                                                                                                             Column A                      Column B
                                                                                                             Debtor 1                      Debtor 2 or
                                                                                                                                           non-filing spouse
                                                                                                             $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                               $                  0.00       $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                            $                     0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                  $                  0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
                  Contract Labor                                                                             $              566.67         $           0.00
                                                                                                             $                  0.00       $           0.00
                  Total amounts from separate pages, if any.                                            +    $                  0.00       $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                     $         3,302.58           +   $      7,923.23    =    $     11,225.81

                                                                                                                                                               Total average
                                                                                                                                                               monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                             $         11,225.81
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 below.
              You are married and your spouse is filing with you. Fill in 0 below.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                                    $
                                                                                                    $
                                                                                                 +$

                     Total                                                                        $                     0.00           Copy here=>         -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                      $         11,225.81

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                       $         11,225.81

                Multiply line 15a by 12 (the number of months in a year).                                                                                      x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................             $        134,709.72




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                  page 2
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  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                             MO

       16b. Fill in the number of people in your household.                  4
       16c. Fill in the median family income for your state and size of household.                                                       $     74,386.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                      11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

       17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                      your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                       $               11,225.81
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                      -$                       0.00


       19b. Subtract line 19a from line 18.                                                                                          $         11,225.81


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                $     11,225.81

              Multiply by 12 (the number of months in a year).                                                                               x 12

       20b. The result is your current monthly income for the year for this part of the form                                             $    134,709.72




       20c. Copy the median family income for your state and size of household from line 16c                                             $     74,386.00


       21. How do the lines compare?

                   Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                   period is 3 years. Go to Part 4.

                   Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Kenneth Jason Wilson                                                    X /s/ Jennifer Sue Wilson
        Kenneth Jason Wilson                                                          Jennifer Sue Wilson
        Signature of Debtor 1                                                         Signature of Debtor 2
       Date October 3, 2016                                                           Date October 3, 2016
            MM / DD / YYYY                                                                 MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                               page 3
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           Case 16-50329-btf13                        Doc 32          Filed 10/03/16 Entered 10/03/16 21:44:26                         Desc Main
                                                                     Document     Page 80 of 88

 Fill in this information to identify your case:

 Debtor 1            Kenneth Jason Wilson

 Debtor 2           Jennifer Sue Wilson
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Western District of Missouri

 Case number         16-50329-can13
 (if known)                                                                                                    Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                         04/16

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
    the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
    information may also be available at the bankruptcy clerk’s office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
    expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
    122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

    If your expenses differ from month to month, enter the average expense.

    Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

    5.     The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                    4
           the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                               $             1,509.00


    7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 22C-2                                         Chapter 13 Calculation of Your Disposable Income                                        page 1
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 Debtor 2         Jennifer Sue Wilson                                                                 Case number (if known)      16-50329-can13

    People who are under 65 years of age
            7a. Out-of-pocket health care allowance per person              $             54
            7b. Number of people who are under 65                           X         4
            7c. Subtotal. Multiply line 7a by line 7b.                      $       216.00             Copy here=>        $          216.00

    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person              $          130
            7e. Number of people who are 65 or older                        X         0
            7f.     Subtotal. Multiply line 7d by line 7e.                  $         0.00             Copy here=>        $             0.00

            7g. Total. Add line 7c and line 7f                                                 $      216.00                   Copy total here=> $        216.00


    Local Standards           You must use the IRS Local Standards to answer the questions in lines 8-15.
    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
         Housing and utilities - Insurance and operating expenses
         Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
    separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
    8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
        in the dollar amount listed for your county for insurance and operating expenses.                               $               626.00
    9.      Housing and utilities - Mortgage or rent expenses:
            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                                     $          892.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.
                    To calculate the total average monthly payment, add all amounts that are
                    contractually due to each secured creditor in the 60 months after you file
                    for bankruptcy. Next divide by 60.

                   Name of the creditor                                         Average monthly
                                                                                payment

                    -NONE-                                                      $


                                                                                                       Copy                                      Repeat this amount
                                     9b. Total average monthly payment          $              0.00    here=>        -$                  0.00 on line 33a.

            9c. Net mortgage or rent expense.

                    Subtract line 9b (total average monthly payment) from line 9a (mortgage                                             Copy
                    or rent expense). If this number is less than $0, enter $0.                           $               892.00        here=>    $          892.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                               $               0.00

             Explain why:




Official Form 122C-2                                         Chapter 13 Calculation of Your Disposable Income                                                 page 2
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 Debtor 2     Jennifer Sue Wilson                                                                                Case number (if known)   16-50329-can13

    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.

               1. Go to line 12.

               2 or more. Go to line 12.
    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                  $             382.00
    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.
     Vehicle 1         Describe Vehicle 1: 2013 Ford F-150 XL Supercrew 4WD 31,000+ miles VIN =
                                                  1FTFW1ET8DFE04233
    13a. Ownership or leasing costs using IRS Local Standard..................................................         $             471.00
    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

                 Name of each creditor for Vehicle 1                               Average monthly
                                                                                   payment
                 Ford Motor Credit Co                                              $              645.90

                                                                                                                                                      Repeat this
                                                                                                                  Copy                                amount on
                                         Total Average Monthly Payment             $              645.90          here =>       -$        645.90      line 33b.


    13c. Net Vehicle 1 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 1
            Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                     expense here
                                                                                                                       $               0.00      =>              $             0.00

     Vehicle 2         Describe Vehicle 2:
    13d. Ownership or leasing costs using IRS Local Standard..................................................         $               0.00
    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                               Average monthly
                                                                                   payment

                 -NONE-                                                            $

                                                                                                                  Copy                            Repeat this
                                                                                                                  here                            amount on line
                                         Total average monthly payment             $                 0.00         =>                      0.00    33c.
                                                                                                                           -$

    13f. Net Vehicle 2 ownership or lease expense                                                                                                Copy net
                                                                                                                                                 Vehicle 2
            Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                   expense here
                                                                                                                       $               0.00      =>              $             0.00

    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.                                                         $                 0.00
    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                                                $                 0.00




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                                page 3
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    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.
    16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
        and subtract that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.                                                                                  $         1,501.92
    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.              $           463.67
    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
        of life insurance other than term.                                                                                                $               0.00
    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
        Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.         $               0.00
    20. Education: The total monthly amount that you pay for education that is either required:
               as a condition for your job, or
               for your physically or mentally challenged dependent child if no public education is available for similar services.       $               0.00
    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not include payments for any elementary or secondary school education.                                                         $           275.00
    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
        Payments for health insurance or health savings accounts should be listed only in line 25.                                        $               9.00
    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
        for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
        phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
        income, if it is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                      +$                0.00

    24. Add all of the expenses allowed under the IRS expense allowances.                                                                $       5,874.59
        Add lines 6 through 23.
    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                              $        146.00
            Disability insurance                                          $           0.00
            Health savings account                                       +$           0.00

            Total                                                             $      146.00       Copy total here=>                      $            146.00


            Do you actually spend this total amount?
                   No. How much do you actually spend?
                    Yes                                                       $

    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
        your household or member of your immediate family who is unable to pay for such expenses. These expenses may
        include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                              $               0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
            By law, the court must keep the nature of these expenses confidential.                                                        $               0.00


Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                           page 4
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    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
        line 8.
            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
            8, then fill in the excess amount of home energy costs
            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                                                $             0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.
            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.
            * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.                       $         200.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.
            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.
            You must show that the additional amount claimed is reasonable and necessary.                                                              $             0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
            Do not include any amount more than 15% of your gross monthly income.                                                                      $         100.00

    32. Add all of the additional expense deductions.                                                                                                  $      446.00
        Add lines 25 through 31.

    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33e.
        To calculate the total average monthly payment, add all amounts that are contractually due to each secured
        creditor in the 60 months after you file for bankruptcy. Then divide by 60.
              Mortgages on your home                                                                                                               Average monthly
                                                                                                                                                   payment
    33a.      Copy line 9b here                                                                                                               =>   $            0.00
              Loans on your first two vehicles
    33b.      Copy line 13b here                                                                                                              =>   $         645.90
    33c.      Copy line 13e here                                                                                                              =>   $            0.00
    33d.      List other secured debts:
    Name of each creditor for other secured debt                     Identify property that secures the debt                     Does payment
                                                                                                                                 include taxes
                                                                                                                                 or insurance?
                                                                     1110 N 6th Avenue St. Joseph, MO
                                                                     Buchanan County                                                    No
             Buchanan County Collector of                            Storage lot (small metal building). NOTE:
             Revenue                                                 This property is jointly owned.                                    Yes        $          84.01
                                                                     6037 Carnegie Street St. Joseph, MO
                                                                     Buchanan County
                                                                     Rental property. NOTE: This property is
                                                                     jointly owned. However only Debtor                                 No
                                                                     Kenneth Jason Wilson is obligated on the
             Buchanan County, Missouri                               Promissory Note.                                                   Yes        $          13.18
                                                                     413 Kentucky Street St. Joseph, MO
                                                                     Buchanan County
                                                                     Rental property. NOTE: This property is
                                                                     jointly owned. However only Debtor                                 No
                                                                     Kenneth Jason Wilson is obligated on the
             Buchanan County, Missouri                               Promissory Note.                                                   Yes        $          10.16



Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                      page 5
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 Debtor 2    Jennifer Sue Wilson                                                                      Case number (if known)   16-50329-can13

                                                                     2829 Patee Street St. Joseph, MO
                                                                     Buchanan County
                                                                     Rental property. NOTE: This property is
                                                                     jointly owned. However only Debtor                        No
                                                                     Kenneth Jason Wilson is obligated on the
            Residential Credit Solutions, Inc.                       Promissory Note.                                          Yes        $         289.00


                                                                                                                                     Copy
                                                                                                                                     total
    33e     Total average monthly payment. Add lines 33a through 33d                                      $           1,042.25       here=>   $    1,042.25




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                             page 6
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    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?
               No.      Go to line 35.
               Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.
     Name of the creditor                                         Identify property that secures the debt                    Total cure amount                   Monthly cure
                                                                                                                                                                 amount
                                                                  2829 Patee Street St. Joseph, MO
                                                                  Buchanan County
                                                                  Rental property. NOTE: This property is
                                                                  jointly owned. However only Debtor
                                                                  Kenneth Jason Wilson is obligated on the
     Residential Credit Solutions, Inc.                           Promissory Note.                         $                             1,800.00 ÷ 60 = $                          30.00
                                                                                                                         $                               ÷ 60 = $
                                                                                                                         $                               ÷ 60 = +$
                                                                                                                                                            Copy
                                                                                                                                                            total
                                                                                                                 Total $                      30.00         here=>           $           30.00

    35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

               No. Go to line 36.
               Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.
                          Total amount of all past-due priority claims                                                       $                    0.00       ÷ 60        $                 0.00
    36. Projected monthly Chapter 13 plan payment                                                                            $             1,300.00
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or by
        the Executive Office for United States Trustees (for all other districts).                                           X             5.90
        To find a list of district multipliers that includes your district, go online using the link specified in the
        separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                          Copy total
        Average monthly administrative expense                                                                                   $          76.70         here=> $                       76.70


    37. Add all of the deductions for debt payment.                                                                                                                      $        1,148.95
        Add lines 33e through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                                      $        5,874.59
            Copy line 32, All of the additional expense deductions                                  $           446.00
            Copy line 37, All of the deductions for debt payment                                   +$        1,148.95


            Total deductions....................................................................    $        7,469.54                Copy total here=>               $               7,469.54




Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                                  page 7
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 Debtor 2    Jennifer Sue Wilson                                                                       Case number (if known)    16-50329-can13


 Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

    39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period.                                              $                  11,225.81
    40. Fill in any reasonably necessary income you receive for support for dependent
        children. The monthly average of any child support payments, foster care payments, or
        disability payments for a dependent child, reported in Part I of Form 122C-1, that you
        received in accordance with applicable nonbankruptcy law to the extent reasonably
        necessary to be expended for such child.                                                               $                 0.00
    41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
        employer withheld from wages as contributions for qualified retirement plans, as specified
        in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
        specified in 11 U.S.C. § 362(b)(19).                                                                   $                 0.00
    42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here               =>     $            7,469.54
    43. Deduction for special circumstances. If special circumstances justify additional
        expenses and you have no reasonable alternative, describe the special circumstances and
        their expenses. You must give your case trustee a detailed explanation of the special
        circumstances and documentation for the expenses.

    Describe the special circumstances                                                    Amount of expense

             Rents no longer being received                                           $            2,843.33

             Real estate sales expenses                                               $            1,725.00

                                                                                      $

                                                                                                              Copy
                                                                            Total $          4,568.33         here=> $            4,568.33


                                                                                                                                   Copy
    44. Total adjustments. Add lines 40 through 43.                                               =>      $         12,037.87      here=> -$           12,037.87


    45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                     $              -812.06


 Part 3:       Change in Income or Expenses

    46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
        have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
        time your case will be open, fill in the information below. For example, if the wages reported increased after
        you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
        wages increased, fill in when the increase occurred, and fill in the amount of the increase.

    Form             Line           Reason for change                                      Date of change          Increase or      Amount of change
                                                                                                                   decrease?
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $
       122C-1                                                                                                         Increase
       122C-2                                                                                                         Decrease      $




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                              page 8
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 Debtor 2     Jennifer Sue Wilson                                                                   Case number (if known)   16-50329-can13




 Part 4:        Sign Below



            By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


       X /s/ Kenneth Jason Wilson                                                     X /s/ Jennifer Sue Wilson
             Kenneth Jason Wilson                                                        Jennifer Sue Wilson
             Signature of Debtor 1                                                       Signature of Debtor 2
    Date October 3, 2016                                                           Date October 3, 2016
         MM / DD / YYYY                                                                 MM / DD / YYYY




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                           page 9
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